Case 2:03-cV-02330-SHI\/|-ch Document 389 Filed 05/23/05 Page 1 of 5 Page|D 682

Fli£Q %` \__t- D.C.

IN THE UNITED STATES DISTRICT COURT { %

FOR THE WESTERN DISTRICT OF TENNESSEE 35 ::;» -.}, 73 lDH ’?: l 2
WESTERN DIVISION " ` “

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LECTROLARM CUSTOM SYSTEMS, lNC.,

Plaintiff,

vs. NO. 03-2330-Ma/A

VICON TNDUSTRIES, INC,, et al.

Defend ants.

 

ORDER ALLOWING WITHDRAWAL OF COUNSEL

 

Bel"ore the court is attorney Robert R. Laurenzi’s May 20, 2005 motion to withdraw as
counsel for defendant Vicon Industi'ies, lnc. For good cause shown, Mr. Laurenzi’s motion
is granted and he is allowed to withdraw as counsel for defendant Vicon Industries, Inc.

IT is so oRDERED this 2'=~l"\day Of May, 2004.

j%//WL`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet ln ccc/mpllence
with Hule 58 and.'or 79(£1) FRCP on ’ 'C}J

 

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